 

ease 1:05-¢1-00376-JDB= 'Do`cume_nua - File'd1`2/1_6_/20'05 Page16116

eo-sze
112/861

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED S.TATES OF- AMERICA )
)
Vs. ) Criminal Case No. 05~376-‘_1
) ' 6 _
YVES JEAN LOUIS ) Fl LED
DEC- 1 15 29_1}.5)
4 _` _ UNBYMAY£B 1111111111111011 chem
WAIVER oF` 'TRIAL BY IURY ”S D‘SW'CTCOUHT '

With the consent of the'United States Attomey add the approval of the

Court`,. the defendant Waives his light to trial by ju'ry.

\} l./Q‘O 1)`€“""" B"°"~"-_’:`V

Defendz`m`t

 

 

I consent , ` [)£/ %%W

As ietan“c United' Statee 'Att`orn`ey_

     

Approved:

j@"-;S' M--~" _ Date.: _ASM_MM/é._mf

Judge Hoh‘n D. Bates

 

 

